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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 TANK CONNECTION, LLC

                      Plaintiff,
 v.
                                                                Case No.
 JOHN R. HAIGHT,

                      Defendant,

 USA TANK SALES & ERECTION COMPANY,
 INC.,

                      Relief Defendant.


                 COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       Plaintiff Tank Connection, LLC (“Tank Connection”), states:

                                          The Parties

       1. Tank Connection is a Kansas limited liability company whose principal office is

located in Labette County, Kansas. Tank Connection is and has for many years been in the

business of designing, manufacturing, installing, and servicing above ground tanks for the

storage of dry and liquid products.

       2. John R. Haight is a former employee of Tank Connection. Haight was employed

by Tank Connection from July 28, 2008, until his unexpected voluntary resignation at 8: 30

a.m. on September 12, 2013, so that he could become employed by USA Tank Sales &

Erection Company, Inc. Haight’s position with Tank Connection at the time of his

resignation was International Sales Manager. Haight resides in Neosho County, Kansas.

       3. USA Tank Sales & Erection Company, Inc. (“USA Tank”), is Haight’s current

employer. USA Tank competes directly with Tank Connection in the design, manufacture,
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sale, and installation of above ground steel storage tanks for both dry and liquid products.

Tank Connection is informed and believes that Haight began his employment with USA

Tank on September 13, 2013, the day following his resignation from Tank Connection.

Since April 8, 2008, USA Tank has registered with the Kansas Secretary of State to conduct

business in Kansas as a foreign for‐profit corporation. USA Tank is a Missouri corporation

with its principal office located at 5897 Hwy 59, Goodman, Missouri.

       4. USA Tank is named a relief defendant in this action based on Tank Connection’s

information and belief that USA Tank is in possession of certain tangible and intangible

personal and intellectual property of Tank Connection by virtue of the misconduct of

Haight.

                                         Jurisdiction

       5. This court has jurisdiction pursuant to 28 U.S.C. § 1331 because this action

against John R. Haight (“Haight”) arises under the private right of action provision of 18

U.S.C. § 1030(g), the Computer Fraud and Abuse Act.

       6. This court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Tank

Connection’s state law claims because they are so related to claims in the action within the

court’s original jurisdiction that those claims form part of the same case or controversy.

                                           Venue

       7. Venue is proper both because Haight and USA Tank reside in the District of

Kansas within the meaning of 28 U.S.C. § 1391(b)(1) and a substantial part of the events or

omissions giving rise to Tank Connection’s claims occurred in the District of Kansas within

the meaning of 28 U.S.C. § 1391(b)(2).




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                Haight’s Obligation to Protect Confidential Information

       8. Tank Connection and its most senior employees have decades of experience in

the design, manufacturer, installation, and servicing of above ground tanks. During that

same time, it has established relationships with customers, vendors, and referral sources

and with the key contacts within those organizations.

       9. Tank Connection has also developed unique design processes, pricing methods

and supporting software, costing, customer lists and contacts, marketing strategies,

business strategies, and other unique methods of doing business.

       10. Haight, on the other hand, had no prior experience in the storage tank business.

All that he learned and the relationships he developed were the result of his employment

with Tank Connection.

       11. When Haight began his employment with Tank Connection, he knew that he

would be privy to confidential information belonging to Tank Connection. That confi‐

dential information included such things as pricing, costs, customer lists, engineering and

design plans, lists of pending jobs known as “hot lists,” and corporate strategies, as noted

above. Haight promised that he would keep this information confidential and not disclose it

to third parties, such as USA Tank, without prior written permission from Tank Connection.

Haight confirmed his promise in writing by signing a Non‐Disclosure Agreement dated July

28, 2008. Exhibit 1. The agreement was signed in Labette County, Kansas. Haight has

never received written permission to disclose confidential information to third parties.

       12. The Employee Handbook for Tank Connection also requires employees to

protect from disclosure confidential company information and to return all company

property upon termination.


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       13. Haight had six portable computer flash or “thumb” drives that are used for the

storage of electronic of data that he used in connection with his job. Some of those drives

belong to Tank Connection.

                       Haight’s Resignation from Tank Connection

       14. Haight announced his resignation on Friday, September 12. As part of the

termination process, he met with Dennis Banning, CFO, and Misty Chalker, Human

Resources Manager. Haight replied, “Yes,” when asked if all company property in his

possession had been returned.

                     Attempt by Tank Connection to Avoid Litigation

       15. It was discovered after Haight left the company’s premises that he routinely

carried with him six or more computer flash drives. It was confirmed that these drives, or

some of them, included confidential design and pricing programs belonging to Tank

Connection.

       16. Both Banning and Chalker called for Haight the next day, September 13, to

inquire about the flash drives. They left messages stating that they knew he was in

possession of flash drives that contained company information. Their calls were not

returned that day.

       17. Haight returned Banning’s call the following day, September 14. Haight told

Banning that he had discovered in his briefcase three flash drives belonging to Tank

Connection. Banning reminded Haight that Tank Connection intended to protect its

proprietary and confidential information. Haight responded that he was “well aware” of

what information was proprietary and confidential information and he did not have any of

that information in his possession.


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       18. Haight returned the three flash drives he admitted having. None contained any

information of consequence. However, none of the drives had been used since 2012.

     The First Forensic Examination of Haight’s Company Computer Hard Drive

       19. Haight was assigned a laptop computer to be used in the performance of his

work for Tank Connection. Haight routinely took that laptop computer home with him at

the end of the work day. That computer was taken from Haights’ office and secured the

morning he terminated his employment with Tank Connection.

       20. A preliminary forensic examination of the hard disk drive in Haight’s laptop

computer was performed on September 13. The hard drive was forensically imaged and

the image was examined. The examination uncovered a directory named “Business Plans,

Budgets, Etc.” in the recycle bin of Haight’s computer.

       21. The examination also uncovered a folder with that same name on a portable

flash drive designated with the letter F: which had been inserted in a Universal Serial Bus

port on Haight’s laptop computer and information copied to that flash drive. A computer

file named “2013 TC International Business Plan.docx” had also been copied to that

portable flash drive. That file was not found on any of the three flash drives Haight

returned to the company.

       22. Both that specific folder and specific file exist as part of the company’s highly

confidential electronically stored information.

       23. The flash drive with this confidential information was not returned by Haight to

Tank Connection.

       24. On September 13, 2013, a letter from counsel for Tank Connection was sent to

Haight. Exhibit 2. Haight returned one more thumb drive. The contents of that drive were


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inconsequential and did not contain the confidential folder.

     The Second Forensic Examination of Haight’s Company Computer Hard Drive

        25. A second forensic examination of the imaged hard drive showed that on

September 10 and 11, 2013, the two days before Haight resigned, he remotely accessed the

company computer server and searched, among others, the confidential files of two

company officers: Vince Horton, the Vice‐President of Sales, and Jeanette Horton, the Office

Manager.

        26. This inspection revealed that highly sensitive pricing, design, personnel, costing,

“hot lists” (pending jobs), and other confidential information had been viewed during that

time by Haight. It also appears that Haight copied images of files displayed on the monitor.

This copying process is known most commonly as a “screen shot.” This is more cumber‐

some than simply copying the file from which the image is produced, but it leaves a very

limited digital trail.

        27. The forensic examination also showed a number of “zero byte” files. These files

are empty of everything except metadata, such as the date the file was created. There is

compelling forensic evidence that Haight took “screen shots” of confidential information,

allowing him to have the images and data actually displayed on the computer screen , and

then “zeroed” them on the server in an attempt to make them untraceable.

        28. No one but Haight had accessed these files on the dates in question.

      The Third Forensic Examination of Haight’s Company Computer Hard Drive

        29. Tank Connection hired BKD, LLP, to perform a more detailed forensic

examination. The process employed a LNK File Report Timeline detailing file activity from

September 9 through 11. This report detailed the files that were accessed from the hard


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drive, network share, or removable devices. The examination determined that two flash

drives were attached to USB ports on Haight’s laptop computer at different times when

Haight was accessing the company’s main computer server: late evening on September 9

and late evening on September 11. Those two flash drives have not been accounted for.

Based on the results of the forensic examinations, Tank Connection believes that highly

sensitive and confidential information was accessed by Haight, and that Haight employed

those flash drives to copy that information, including critical items such as “hot lists”,

design programs, bonus plans, and other confidential information that would have great

value and use to a competitor of Tank Connection.

                           Haight’s Employment with USA Tank

       30. Haight left the employment of Tank Connection to work for USA Tank for

substantially the same job for higher compensation.

       31. The confidential information targeted and misappropriated by Haight from

Tank Connection would afford him a significant, unfair, and illegal advantage in his position

with USA Tank.

       32. Haight would have no reason to take confidential information from Tank unless

he planned to use it in his employment with USA Tank.

                      The Status of USA Tank as a Relief Defendant

       33. While it is all but certain that Haight is using the misappropriated information

at his new job with USA Tank, it is not known whether USA Tank is aware of its use.

       34. It is nonetheless very likely that the misappropriated information has been

incorporated into the USA Tank computer system or otherwise is in the possession of USA

Tank for use by Haight.


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       35. USA Tank has no interest in the outcome of this case.

       36. USA Tank thereby is appropriately designated a relief defendant because it has

in its possession confidential information misappropriated by Haight and is necessary to

afford proper relief to Tank Connection.

          The Damage That Will Result from Disclosure of this Information

       37. Tank Connection and its key personnel have decades of experience in all aspects

of the above ground tank industry. During that time, confidential methods, programs,

techniques, and strategies have been developed that distinguish it in the market and from

its competition. USA is one of many such competitors.

       38. The above ground storage tank business is very competitive. The type of

information misappropriated by Haight gives him, and thus USA Tank, a significant and

unfair competitive advantage:

              a.     The design programs, which were developed solely by Tank

       Connection, disclose unique design methods, techniques, and information. A

       competitor would be handed everything needed to duplicate the work done by Tank

       Connection.

              b.     Bonus programs list the salaries and the bonus potential of every

       sales person in this organization, each and every sales person. This information is

       extremely sensitive. A competitor could “cherry pick” key Tank Connection

       employees by offering compensation and bonuses at Tank Connection.

              c.     Pricing lists allow Haight to determine how Tank Connection would

       price a specific job. Knowing that, Haight could bid just enough under Tank

       Connection to secure the job.


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              d.     “Hot lists” of pending work identifies customers with contracts. This is

       a customer list with detailed information unique to the customer. It is the type of list

       and information that are protectable interests under Kansas law. This information

       would allow Haight to target these customers, find out the project, and take jobs

       away by underbidding or other means. This information is critically important. Most

       of the revenue of Tank Connection is generated from the customers on these lists.

              e.     Corporate Strategy Meeting Notes. These files are listed by year and

       they have the sales projections and strategy. That information is very sensitive,

       including income projections for the coming year, actual income numbers through

       three quarters of the current year , and projections for the fourth quarter of the

       current year. It also includes a list of top clients of Tank Connection by revenue.

              f.     The “Business Plan” and “Budgets” identified are also protectable

       interests under Kansas law. Knowing a competitor’s plans for marketing, research

       and development, compensation, commission structures, costs, and other

       confidential information is anti‐competitive, and creates an unfair and illegal

       advantage.

       39. Part of the resulting damage to Tank Connection is and will be lost profits and

other money damages; but far worse is the irreparable damage resulting from the

irretrievable loss and disclosure of confidential information, damage to its goodwill and

reputation, in the hands of unscrupulous ex‐employees and competitors.

       40. Tank Connection will continue to suffer losses due to the dissipation of its

confidential information, loss of customers, and loss of goodwill and reputation, unless

Haight and USA Tank are enjoined from use and possession of that information.


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                        Count I ‐ Breach of Contract against Haight

       41. The Non‐Disclosure Agreement and the Tank Connection Employee Handbook,

both of which were agreed to by Haight in exchange for his employment, are clear in their

prohibition of the disclosure of confidential information.

       42. Haight violated those agreements in the following ways:

               a.     Illegally accessing the company computer server and searching the

       private files of individual management employees containing confidential and

       highly sensitive information belonging to Tank Connection.

               b.     Illegally copying and misappropriating that information.

               c.     Illegally disclosing and using that information in his subsequent

       employment with USA Tank in competition with Tank Connection.

       43. The resulting damage to Tank Connection will be lost profits and other money

damages, lost customers, lost good will and reputation, and dissipation of its confidential

information.

       44. Tank Connection is entitled to preliminary and permanent injunctive relief

against further breaches by Haight. Tank Connection has further suffered damages as a

direct result of Haight’s actions which include lost profits and attorney fees.

        Count II ‐ Violation of the Kansas Uniform Trade Secrets Act by Haight

       45. All of the confidential information of Tank Connection described in this action

are trade secrets because it is “... information, including a formula, pattern, compilation,

program, device, method, technique, or process, that derives independent economic value,



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actual or potential, from not being generally known to, and not being readily ascertainable

by proper means, by other persons who can obtain economic value from its disclosure or

use, and is the subject of efforts that are reasonable under the circumstances to maintain

its secrecy.” K.S.A. §60‐3320(4).

       46. Haight knew that when he copied the information from the company server, he

was taking information that was confidential and that he had a duty not to use or disclose

that information.

       47. Haight nonetheless took the information and is likely using it as an employee of

USA Tank to illegally and unfairly compete with Tank Connection by soliciting customers,

underbidding Tank Connection, and interfering with customer relationships .

       48. Haight is currently using this information to identify and recruit Tank

Connection employees.

       49. The actions of Haight were and continue to be willful and malicious, and Tank

Connection is entitled to an award of twice its damages as exemplary damages under K.S.A.

60‐3322(2).

                      Count III ‐ Breach of Duty of Loyalty by Haight

       50. Kansas employees have a common law duty of loyalty and good faith to their

employers. Those duties require them to act only for the benefit of their employer in all

matters within the scope of their employment and to avoid conflicts between their duty to

the employer and their own self‐interest.

       51. Tank Connection had the right to control the conduct of Haight with respect to

matters entrusted to him. As an agent of Tank Connection, Haight had a duty of loyalty with



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respect to matters within the scope of his agency.

       52. Haight violated his duty to Tank Connection:

               a.      Haight breached his duty of good faith and failed to act in the best

       interests of Tank Connection;

               b.      Haight put himself in a position antagonistic to Tank Connection.

               c.      Haight used his position of trust to acquire confidential information

       belonging to Tank Connection while in that position for his own use and profit.

               d.      Haight failed to disclose material facts and made misrepresentations.

               e.      Haight misappropriated and used confidential, proprietary, and trade

       secret information of Tank Connection for his own benefit.

       53. Tank Connection seeks compensatory damages, lost profits, punitive damages,

attorneys' fees, and injunctive relief as a result of Haight’s breach of his duty.

       54. Tank Connection has been damaged in an amount yet unknown because Haight

breached his duty of loyalty. The damages of Tank Connection will be ascertained through

discovery in this case.

 Count IV ‐ Violation of Computer Fraud and Abuse Act ‐ 18 U.S.C. §1030 ‐ by Haight

       55. The Computer Fraud and Abuse Act (CFAA) authorizes civil actions for

“compensatory damages and injunctive relief or other equitable relief.” 18 U.S.C. §1030(g).

       56. The computer server used by Tank Connection was a “protected computer” as

defined by the CFAA.

       57. Haight violated the CFAA by intentionally accessing the Tank Connection server

and exceeding his authorized access when he accessed, viewed, and copied information



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from confidential files.

       58. Haight acted with intent to defraud Tank Connection. He was planning to resign

the next day and to use the information for his own benefit and for the benefit of USA Tank,

his new employer.

       59. Tank Connection has suffered damages in excess of $5,000 responding to

Haight’s actions, conducting a forensic examination of its computer files, and restoring the

information to its condition prior to the Haight’s action.

             Count IV ‐ Temporary Restraining Order and Injunctive Relief

       60. Tank Connection will suffer irreparable injury unless a temporary restraining

order issues. Tank Connection has no adequate remedy at law.

       61. The threatened injury to Tank Connection outweighs whatever damage the

proposed injunction may cause Haight and USA Tank.

       62. The restraining order and injunction will not be adverse to the public interest

but rather will support Kansas economic development by returning valuable property to its

rightful owner, a Kansas limited liability company.

       63. A substantial likelihood exists that Tank Connection will prevail on the merits.

                                        Relief Sought

       64. Tank Connection requests the following relief:

              a.      A temporary restraining order requiring the following:

                      i.     Representatives of Tank Connection be allowed immediately to

              inspect and copy the computers, phones, e‐mail accounts, of Haight and his

              agents including, but not limited to, electronically stored data, flash drives



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    and other recording media, wherever they may be situated and whether

    they are in the possession of Haight or others, and to copy any and all

    information, either on or off the premises where they may be situated.

           ii.    Haight and Relief Defendant USA Tank shall prepare, sign, and

    file with the Court, within 10 days of the date of this Order, a complete and

    accurate accounting for the period of September 10, 2013, to the date of this

    Order. Such accounting shall include, without limitation, the identification of:

                  (1)    All information belonging to or taken from Tank

           Connection.

                  (2)    The name, customers or employees of Tank Connection

           who have been contacted in any manner for any reason.

                  (3)    All e‐mails, letters, and other documents provided to

           those identified in sub‐paragraph (2).

                  (4)    All sales, bids, offers, contracts, correspondence,

           marketing contacts, other information exchanged with those

           identified in sub‐paragraph (2).

           iii.   Haight and USA Tank must return within 72 hours, all Tank

    Connection property to Tank Connection, including all originals and copies of

    tangible and electronically stored information, proprietary documents and

    information, trade secrets, confidential information, vendor lists, material

    lists and information, customer information, employee information, business

    development information, request for proposal, request for bid, marketing



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       data, prospect meeting data, proposals, faxes, financial information, pricing,

       contracts, marketing brochures, marketing database, marketing plans, costs,

       customer lists, customer information, internal weaknesses, prospect lists,

       client lists, employee lists, alliance relationships, competitive bid

       information, client contact lists, sales leads, prospective employee lists,

       business plans, profit, margin, and forecasting information, strategic

       planning, project costs, and any other Tank Connection information and data

       kept in any form or media.

              iv.     Haight and USA Tank be directed to immediately and

       continuously preserve all electronically stored information until further

       order of the court.

              v.      Haight must be ordered to discontinue work for USA Tank at

       least until completion of the preliminary injunction hearing.

              vi.     USA Tank be required to forensically image the hard drives on

       all company computers used by Haight, the sales and engineering

       departments, and from the company servers, within 72 hours of the service

       of the TRO and that the images be delivered to counsel for Tank Connection

       or their designee.

       b.     That a preliminary injunction should issue to the same effect.

       c.     A permanent injunction be issued to the same effect as the

preliminary injunction requested above and, in addition, barring Haight from

further employment in the storage tank industry for at least three years.

       d.     Compensatory damages against Haight in an amount to be proven at

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trial.

         e.    Punitive damages in an amount sufficient to deter Haight from

engaging in intentional misconduct at issue here.

         f.    Taxable costs and reasonable attorney fees pursuant to the Kansas

Uniform Trade Secrets Act.

         g.    Prejudgment interest at the legal rate on all liquidated sums; accrued

interest at the legal rate on all damages; and such other relief in law or equity as this

Court deems just.

                          DEMAND FOR JURY TRIAL

   Tank Connection hereby demands a trial by jury on all issues so triable.

                     REQUEST FOR LOCATION OF TRIAL

Plaintiff requests that Wichita, Kansas, be the location for the trial of this case.

                                     /s/ Ross A. Hollander
                                     Ross A. Hollander (9010)
                                     Stephen M. Joseph (7452)
                                     Joseph, Hollander & Craft LLC
                                     500 N. Market Street
                                     Wichita, KS 6714
                                     Phone: (316) 262‐9393
                                     Fax: (316) 262‐9006
                                     rhollander@josephhollander.com
                                     sjoseph@josephhollander.com

                                               Attorneys for Plaintiff, Tank Connection, LLC




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                            EXHIBIT 2
